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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    ANA NUNEZ LOPEZ,                                   §
        Plaintiff,                                     §
                                                       §
    vs.                                                §    Civil Action No. 3:21-CV-808
                                                       §
    FIESTA MART, L.L.C.                                §
         Defendant.                                    §

    DEFENDANT’S NOTICE OF REMOVAL AND REQUEST FOR LEAVE TO
                PROCEED WITHOUT LOCAL COUNSEL

           Defendant Fiesta Mart, LLC (“Defendant”) files this Notice of Removal

pursuant to 28 U.S.C. §§ 1441 and 1446, requests leave to proceed without local

counsel, and respectfully shows:

                                 Commencement and Service

           1.     On March 5, 2021, Ana Nunez Lopez (“Plaintiff”) commenced this action

by filing an Original Petition (“State Court Petition”) in the 1st County Court at Law,

of Dallas County, Texas. The case is styled Cause No. CC-21-00840-A; Ana Nunez

Lopez vs. Fiesta Mart, L.L.C. 1 Plaintiff seeks monetary relief over $100,000 but not

more than $250,000.

           2.     The lawsuit was first served on Defendant on March 9, 2021. 2

           3.     Defendant timely answered in state court on April 1, 2021. 3




1          See Exhibit C, Plaintiff’s Original Petition with citation.
2          See Exhibit E, Citation and Return of Service.
3          See Exhibit F, Defendant’s Original Answer and Affirmative Defenses.
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      4.     This Notice of Removal is filed within thirty days of the receipt of service

of process and is therefore considered timely pursuant to 28 U.S.C. § 1446(b). This

Notice of Removal is also filed within one year of the commencement of this action

and is thus timely pursuant to 28 U.S.C. § 1446(c).

                                Grounds for Removal

      5.     Defendant is entitled to remove the state court action to this Court

pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 because this action is a civil action

involving an amount in controversy exceeding $75,000.00 between parties with

diverse citizenship.

                               Diversity of Citizenship

      6.     There is complete diversity of citizenship between Plaintiff and

Defendant.

      7.     Plaintiff is a citizen of Texas. 4

      8.     Defendant Fiesta Mart, LLC is not a citizen of Texas. 5 While Defendant

Fiesta Mart, LLC is a Domestic Limited Liability Company, its sole member is

Bodega Latina Corp., a Delaware corporation with its principal place of business, or

its “nerve center,” in California. 6 Defendant’s citizenship as an LLC is determined by

the citizenship of its members. 7 Defendant’s sole member is a corporation, and a

corporation is deemed to be a “citizen” of the state where it maintains its principal


4     See Exhibit C, Plaintiff’s Original Petition at ¶ 2.1.
5     See Exhibit G, Affidavit of Michael Saltzstein.
6     Id. at ¶ 3.
7     See e.g., Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008).

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place of business (its “nerve center”) and the state of its incorporation. 8 Therefore,

Defendant is a citizen of Delaware and California.

                                Amount in Controversy

       9.     This is a personal injury case with well over $75,000 in controversy at

the time of this removal. Per her Petition, Plaintiff pleads monetary relief in an

amount more than $100,000 but not more than $250,000, pursuant to Rule 47(c) of

the Texas Rules of Civil Procedure.

                                           Venue

       10.    Venue lies in the Northern District of Texas, Dallas Division, pursuant

to 28 U.S.C. §§ 1441(a) and 1446(a) because Plaintiff filed the action in this judicial

district and division.

                                           Notice

       11.    Defendant will give notice of the filing of this Notice of Removal to all

parties of record pursuant to 28 U.S.C. § 1446(d). Defendant will also file with the

clerk of the state court and will serve upon Plaintiff’s counsel, a notice of the filing of

this Notice of Removal.

                            Exhibits to Notice of Removal

       12.    In support of this Notice of Removal and pursuant to 28 U.S.C. §1446(a),

true and correct copies of the following documents are attached to this Notice as

corresponding lettered exhibits:




8      See, 28 U.S.C § 1332(c)(1); see also, Hertz Corp. v. Friend, 559 U.S. 77, 130 S. Ct.
1181, 1185-86 (2010).

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      A. Index of documents filed in Cause No. CC-21-00840-A; Ana Nunez Lopez vs.
         Fiesta Mart, LLC, in the County Court at Law No. 1 of Dallas County,
         Texas.– Exhibit A

      B. Docket Sheet for Cause No. CC-21-00840-A; Ana Nunez Lopez vs. Fiesta
         Mart, LLC, in the County Court at Law No. 1 of Dallas County, Texas. –
         Exhibit B

      C. Plaintiff’s Original Petition filed on March 5, 2021, Cause No. CC-21-00840-
         A; Ana Nunez Lopez vs. Fiesta Mart, LLC, in the County Court at Law No.
         1 of Dallas County, Texas. – Exhibit C

      D. Correspondence to Court Requesting citation filed March 5, 2021, Cause No.
         CC-21-00840-A; Ana Nunez Lopez vs. Fiesta Mart, LLC, in the County
         Court at Law No. 1 of Dallas County, Texas. – Exhibit D

      E. Citation Issued March 8, 2020; Served on March 9, 2021 and Return of
         Service filed March 9, 2021, Cause No. CC-21-00840-A; Ana Nunez Lopez
         vs. Fiesta Mart, LLC, in the County Court at Law No. 1 of Dallas County,
         Texas. – Exhibit E

      F. Defendant’s Original Answer and Affirmative Defenses filed April 1, 2021,
         Cause No. CC-21-00840-A; Ana Nunez Lopez vs. Fiesta Mart, LLC, in the
         County Court at Law No. 1 of Dallas County, Texas. – Exhibit F

      G. Affidavit of Michael Saltzstein. – Exhibit G

      H. Certificate of Interested Persons – Exhibit H

      I. Notice of Filing Removal in State Court – Exhibit I



            Request for Leave to Proceed Without Local Counsel

      13.    Counsel for Defendant maintains its office in Austin, Texas, in the

Western District. Local Rule 83.10 requires local counsel to appear in cases where

underlying counsel maintains its office outside of the Northern District, unless leave

of court is granted from the presiding judge. Counsel for Defendant represents




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Defendant Fiesta Mart LLC throughout the State of Texas and respectfully requests

leave from the Court to appear without local counsel.


                                          Prayer

      WHEREFORE, Defendant, pursuant to the statutes cited herein and in

conformity with the requirements set forth in 28 U.S.C. § 1446, removes this action

from the County Court at Law of Dallas County, Texas to this Court and requests

leave to proceed without local counsel.

                                                    Respectfully submitted,

                                                    By: ___/s/ Trek Doyle     _____
                                                    Trek Doyle
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                                                    ATTORNEYS FOR DEFENDANT




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                          CERTIFICATE OF SERVICE

       By my signature above, I hereby certify that a true and correct copy of the
above and foregoing document has been served by electronic service to counsel
identified below on this, the 7th day of April 2021.

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